                 Case 3:20-cr-00003-EMC Document 89 Filed 10/05/20 Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          October 05, 2020


       No.:               20-10316
       D.C. No.:          3:20-cr-00003-EMC-1
       Short Title:       USA v. Alexander Mazariegos-Mazariego


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.
        Case 3:20-cr-00003-EMC Document 89 Filed 10/05/20 Page 2 of 3




                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      OCT 05 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 20-10316

               Plaintiff - Appellee,
                                                D.C. No. 3:20-cr-00003-EMC-1
   v.                                           U.S. District Court for Northern
                                                California, San Francisco
 ALEXANDER GIMARAIS
 MAZARIEGOS-MAZARIEGOS, AKA                     TIME SCHEDULE ORDER
 Alex Mazariegos-Mazariegos, AKA
 Alexander Mazariegos-Mazariegos,

               Defendant - Appellant.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.

Fri., October 23, 2020        Transcript shall be ordered.
Mon., November 23, 2020 Transcript shall be filed by court reporter.
Mon., January 4, 2021         Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Mon., February 1, 2021        Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
       Case 3:20-cr-00003-EMC Document 89 Filed 10/05/20 Page 3 of 3

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: Wendy Lam
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
